    Case 4:23-cv-02409 Document 19 Filed on 06/11/24 in TXSD Page 1 of 5
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                                                    United States Courts
                                                  Southern District of Texas
                                                          FILED                  Hala Innana Waldrop
                                                                                  4723 Cashel Circle
                                                      JUN 1 1 2024              Houston, Texas 77069

June 11 th 2024                               Nathan Ochsner, Clerk of Court



Honorable Judge Ellison
United States District Court for the Southern District of Texas
515 Rusk St.
Houston, Texas 77002

Dear Judge Ellison,

I am kindl y writing to fonnally request that the United States Dist1ict Court for the Southern
District of Texas issue an order pennitting me to act as my representative in the legal matter
involving my mortgage company, Freedom Mortgage.

My name is Hala Innana Waldrop, and I assert my status as a lawful American citizen.

I am a single mom of a 15-year-old son with special needs. T have no family around here in the
US. I worked for four years and 9 months for the Harris Cow1ty Sheriffs Office (HCSO). I
encountered life-threatening injuries at work, and accordingly, the HCSO terminated my
employment. I am still under medical observation, having surgeries and treatments. Therefore,
medical providers stilJ have not cleared me to perform any work. Termination from work limited
my financial capabilities. Accordingly, I cannot afford to appoint a new legal firm and pay new
legal fees for the above reasons.

My dispute with Freedom Mortgage dates back to August 2019, when I filed my first complaint
with HUD and the Consumer Protection Bureau; however, no resolution was reached. Therefore,
I had to seek legal advice and consultation from several legal firms, asking for legal representation,
which cost me a lot of money until I had an experienced representative real estate attorney. Mr.
Randy Wooten filed my petition in the district court. However, Freedom Mortgage's legal firm
moved the case to the Federal Court. Mr. Wooten does not litigate in the Federal Court. I
accordingly contracted Mr. David Batton to represent me in the Federal Court / Southern District
of Texas / Houston division. Nevertheless, Mr. Batton encountered several personal issues, and as
l was informed, he would not be able to attend to the litigation purposes in my case.

I am highly educated, with a BA in English Literature, an MBA, and a Ph.D. in Criminal Justice -
Homeland Security (I am an A+ student, have completed all my academics, and am currently
working on my Thesis). I am confident that I can represent myself against Freedom Mortgage.

Freedom M01igage conducted several fraudulent transactions on my account, and some of these
transactions were addressed in three class-action lawsuit cases that were won against Freedom
Mortgage.
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Additionally, on June 23, 2023, case# 23-32059 in the United States Bankruptcy Federal Court,
Judge Marvin Isgur ruled that the automatic stay in my case was extended if I continued making
the regularly scheduled payments until the court resolved the civil case.

I maintained my payments by wi1ing them on time without any problems; however, Freedom
Mortgage requested that their bank reject and return my May 2024 payments without providing
any reason. I wired the May payment twice, and both were returned. Furthermore, Freedom
Mortgage sent me a letter dated May l 0, 2024, requesting$ 90,317.87 by June 12, 2024; otherwise,
Freedom Mortgage will foreclose on the house .

Please note that I filed an injLmction today, June 11 , 2024, to stop the foreclosure .

] will request a jury trial in my case upon your appro val to represent myself.

I have all official documents and proof ofmy claim against Freedom Mortgage.


Thank you, Your Honor.




                                                                                        Attached a Copy of;
                                                                                      The Bankruptcy Ruling
                                                                                  Freedom Mortgage's Letter
         Case
       Case    23-32059 Document
            4:23-cv-02409        1419Filed
                          Document          in on
                                        Filed  TXSB  on 06/23/23
                                                  06/11/24 in TXSDPage 1 of
                                                                    Page    1 5
                                                                         3 of
                                                                                 United States Bankruptcy Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                                                                                        June 23, 2023
                    IN THE UNITED STATES BANKRUPTCY COURT                            Nathan Ochsner, Clerk

                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

INRE:                                           §
                                                §       CASE NO: 23-32059
BALA INNANA WALDROP,                            §
                                                §
         Debtor.                                §
                                                §
                                                §       CHAPTER 7

                    ORDER CONDITIONING THE AUTOMATIC STAY

        As stated on the record in the hearing held on June 23, 2023 at 9:40 a.m. , the automatic

stay in Ms. Waldrop's case is extended, on the condition that Ms. Waldrop continue to make the

regular, scheduled payments on both her mortgage and car note under her contractual agreements

with those creditors.

         SIGNED 06/23/2023


                                                         a~---    Marvin Isgur
                                                                             ¥
                                                         United States Bankruptcy Judge




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                   Case 4:23-cv-02409 Document 19 Filed on 06/11/24 in TXSD Page 4 of 5




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         HALA INNANA WALDROP
         4723 CASHEL Cl~
         HOUSTON t X 77069.:$503




        May 10. 2024

        Re:        Loan umber
                                              ............   .
                                                             ,


                                                      0100705144
                                                                 -
                   Collateral Address                 4723 CASHEL CJR
                                                      HOUSTON TX 77069


         Dear HALA lNN ANA WALDROP:

          We have m>t received your loan paymentslor the period of August l , 2020 through May 1, 2024, • .ch means
          ~loan~ in default This letter is a de1nand for payment of the past due amount as of May 10, 2024: which are;

                    Principal. interest. & escrow                             $88,448.80,
                    Latecharges                                               $0.QO   •   *
                                                                                          0




                    Fees. and eosts to date +•                                $1,869.0lZ,¾
                    ~ $ Amo®t in Snspens'e<                                   $0.00 •


                    Total Amount Due
           lnterat ..,d fees will continue to as;crut;,.after tho date of this lettel'. i'n ac~otdance with the tenns of your loan.

           You must cure the default by paymg the total Amount Due by Jun~ l2, 2024. Failure to cure the default on or
           before the date specified in this notice \\ijlt result in acceleration of sum.s evidenced by the Note and secured
           by the Security J~        nt that y                • connection wit       ~!cnced loan. and fonwlosure or sale of the
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Mtlt'mUt ~ sbou1d pay. Payments mU;$tbc made in U. . cu:rrenc}'. made payable to f?Wdom ~io("tpg.r
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                                        F~om Mortgage Gotpor~tion
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                                             Pns4ld~ou CA 91109

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\~ith a Cust\)lt\Cf Care R ~pre ntative. please call Monday through. Friday :00 AM :00 PM and aturday 9;00
AM- 2:-00 PM Eastern Tim .



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